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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore


  Civil Action No. 17-cv-01807-RM-STV

  BRIANNA BELL,

          Plaintiff,

  v.

  SORIN CRM USA, INC., n/k/a LIVANOVA USA, INC.,

          Defendant.

  ______________________________________________________________________________

                                     ORDER
                   GRANTING MOTION FOR ATTORNEYS’ FEES
  ______________________________________________________________________________

          The Court awarded attorneys’ fees in favor of Defendant and against Plaintiff as a

  sanction and directed Defendant to file a motion for such fees after conferring in good faith as to

  the amount of reasonable fees to be awarded. (ECF No. 174.) This matter is now before the

  Court on Defendant’s Motion for Reasonable Attorneys’ Fees (ECF No. 176) which is

  unopposed. The Court has considered the motion and supporting documents, relevant parts of the

  court record, and the relevant case law. After such review, the Court finds the number of hours

  expended and the hourly rates charged are reasonable. In addition, the Court finds the estimated

  charge of $1,500 for the motion to also be reasonable. See Robinson v. City of Edmond, 160 F.3d

  1275, 1281 (10th Cir. 1998). Accordingly, it is ORDERED

       (1) That the Motion for Reasonable Attorneys’ Fees (ECF No. 176) is GRANTED; and
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     (2) That Defendant is awarded reasonable attorneys’ fees of $6,414.00 against Plaintiff.

        DATED this 20th day of October, 2020.

                                                     BY THE COURT:



                                                     ____________________________________
                                                     RAYMOND P. MOORE
                                                     United States District Judge




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